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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

                                                       )
SALVATORE MANCUSO GOMEZ,                               )
                                                       )
      Petitioner,                                      )   Civil Case: 20-cv-2250 RJL
                                                       )
v.                                                     )
                                                       )
CHAD F. WOLF, ACTING SECRETARY,                        )
U.S. DEPT. OF HOMELAND SECURITY, et al.                )
                                                       )
      Respondents.                                     )
                                                       )


                            JOINT STATUS REPORT

      Pursuant to the Court’s minute order of October 20, 2020, the parties

respectfully submit the following joint status report regarding Mr. Mancuso’s

(Petitioner’s) administrative process.


                    Background and Joint Statement of Parties

1.    On August 17, 2020, Petitioner filed his Complaint [ECF No. 1] in this matter

      and filed an Amended Complaint [ECF No. 14] on September 1, 2020.

2.    On September 2, 2020, the Court held a telephone motions hearing on

      Petitioner’s Motion for a Temporary Restraining Order [ECF NO. 6], which

      had been filed on August 18, 2020. The Court denied Petitioner’s Motion and

      instructed the parties to file a Joint Status Report on September 16, 2020,

      which the parties did.




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3.   On October 15, 2020, the parties filed a joint motion to stay proceedings and

     submit monthly status reports.      The Court granted the joint motion and

     ordered the parties to file a joint status report on or before November 12, 2020.

4.   As the Court noted during the September 2, 2020, hearing, and as the parties

     confirmed in their September 16, 2020, Joint Status Report [ECF No. 18], and

     the October 15, 2020, Joint Motion to Stay Proceedings [ECF No. 19],

     Petitioner is proceeding through an administrative process regarding his

     removal from the United States and the determination of the country to which

     he will be removed.

5.   The parties have conferred and agree that a stay of proceedings continues to

     be appropriate so as to permit the ongoing administrative proceedings to

     continue and to preserve the parties’ and the Court’s resources, as the

     administrative proceedings may resolve the need for further judicial

     intervention and proceedings.


                      Petitioner’s Additional Statement

6.   Individually, Petitioner continues to maintain that U.S. Department of

     Homeland Security (“DHS”) Acting Secretary Chad Wolf acted without

     authority when he changed Petitioner’s removal country from Italy to

     Colombia. As such authority vests only in the Attorney General and, even

     were a DHS Secretary empowered to exercise that authority, Mr. Wolf did not

     properly act as DHS Secretary.




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7.    In a previous status report [ECF 18], Petitioner highlighted the case of Casa

      de Maryland v. Wolf, et al., 20-cv-02118-PX, where Judge Paula Xinis of the

      United States District of Maryland found Acting DHS Secretary Wolf had

      promulgated rules “’in excess of…authority’ and not ‘in accordance with the

      law.’” Id. at *23.

8.    More recently, on October 8, 2020, Judge Randolph D. Moss of this Court also

      concluded that Acting DHS Secretary Wolf acted without authority and “not

      in accordance with the law” when he increased U.S. Citizenship and

      Immigration Services fees because his appointment was not “effective.”

      Northwest Immigrant Rights Project, et al. v. United States Citizenship and

      Immigration Services, et al., 19-cv-3283 (RDM) (ECF 85 at *52, October 9,

      2020).

9.    Petitioner submits that Judge Moss’ decision should carry significant weight

      and supports his position that he is entitled to a Writ of Mandamus directing

      his removal to Italy immediately. Petitioner is not asking the Court for any

      action on this issue at this time, however, he merely wishes to maintain the

      Court appraised of the developments on this issue.


                      Respondents’ Additional Statement

10.   Respondents continue to maintain that Acting Secretary Wolf acted within his

      authority when he changed Petitioner’s country of removal. Respondents’

      respectfully reserve the right to submit briefing prior to the Court making any

      determinations on this issue in this case.



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Dated: November 12, 2020

     Respectfully submitted,

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